          Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 1 of 30



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


JUSTIN COFFEY,

            Plaintiff,

v.                                                              Case No. 4:17-cv-40

SUN LIFE ASSURANCE COMPANY OF
CANADA,

            Defendant.


                                   EXHIBIT A
                   DEFENDANT’S INDEX OF STATE COURT MATTERS

            Defendant Sun Life Assurance Company of Canada (“Sun Life”), in connection

with the removal of this case to the United States District Court for the Southern District

of Texas, Houston Division, and pursuant to Local Rule 81, files this index of state court

matters:

                              State Court Document                               Date

     1.       Docket Sheet                                                    01-06-2017

     2.       Plaintiff’s Original Petition, Request for Disclosure, and      11-22-2016
              Jury Demand

     3.       Civil Process Pick-Up Form                                      11-29-2016

     4.       Citation – Sun Life Assurance Company of Canada                 12-19-2016

     5.       Affidavit of Service                                            12-19-2016




 __________________________________________________________________
EXHIBIT A – DEFENDANT’S INDEX OF STATE COURT MATTERS           PAGE 1
     Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 2 of 30




                                               Respectfully submitted,

                                                /s/ Bill E. Davidoff
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                                               ATTORNEYS FOR DEFENDANT SUN
                                               LIFE ASSURANCE COMPANY OF
                                               CANADA

                             CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2017, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing
to all parties who have appeared and registered with CM/ECF.

                                            /s/ Bill E. Davidoff
                                           Bill E. Davidoff




EXHIBIT A - DEFENDANT'S INDEX OF STATE COURT MATTERS                                    PAGE   2
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 3 of 30




                     EXHIBIT "1"
      Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 4 of 30




HCDistrictclerk.com            COFFEY, JUSTIN vs. SUN LIFE ASSURANCE                                   1/6/2017
                               COMPANY OF CANADA
                               Cause: 201681166    CDI: 7   Court: 151

DOCUMENTS
Number        Document                                                              Post Date              Pgs
                                                                                    Jdgm
73154849      Citation                                                                    12/19/2016       1
.> 73154848   Affidavit of Service                                                        12/19/2016       1
73017977      Civil Process PicIc-Up Form                                                 11/29/2016       1
72837935      Plaintiffs Original Petition Request for Disclosure and Jury Demand         11/22/2016       19
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 5 of 30




                     EXHIBIT "2"
     Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 6 of 30
                                                                                                11/22/2016 3:25:16 PM
                                                                             Chris Daniel - District Clerk Harris County
                                                                                               Envelope No. 13936660
                        2016-81166 / Court: 151                                                         By: Carla Carrillo
                                                                                         Filed: 11/22/2016 3:25:16 PM

                                   No.


JUSTIN COFFEY                                            IN THE DISTRICT COURT
  Plaintiff,

V.                                                              JUDICIAL DISTRICT


SUN LIFE ASSURANCE
COMPANY OF CANADA
 Defendant.                                              HARRIS COUNTY, TEXAS



                       PLAINTIFF'S ORIGINAL PETITION
                  REQUEST FOR DISCLOSURE and JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

        1.    NOW COMES JUSTIN COFFEY, hereinafter referred to as "Plaintiff", and

brings this action against SUN LIFE ASSURANCE COMPANY OF CANADA hereinafter

referred to as "Defendant."

        2.    Plaintiff brings this action to secure all disability benefits, whether they be

described as short term and/or long term, or life waiver premium benefits to which

Plaintiff is entitled under the disability insurance policy underwritten and administered by

Defendant.

        3.    Defendant has underwritten and administered the policy and has issued a

denial of the benefits claimed under the policy by the Plaintiff. The policy at issue can be

identified as Policy Number 228737 for long term disability and waiver of premium.

                                         I. PARTIES

        4.    Plaintiff is a citizen and resident of Harris County, Texas.

                                              1
   Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 7 of 30




      5.     Defendant is a properly organized business entity doing business in the

State of Texas. Defendant may be served with process by serving its registered agent,

C T Corporation System, addressed at 350 North St. Paul Street, Dallas, Texas 75201.

                            II. JURISDICTION AND VENUE

      6.     This is an action for damages for failure to pay benefits under an

insurance policy and other related claims over which this court has jurisdiction.

Specifically, the Plaintiff is a resident of the state of Texas and Defendant, a foreign

corporation is authorized to do business in the State of Texas.

      7.     The disability policy at issue in the case was issued in the State of Texas.

                            III. THE CLAIM ON THE POLICY

      8.      Plaintiff has been a covered beneficiary under a group disability benefits

policy issued by Defendant at all times relevant to this action. Said policy became

effective September 1, 2013.

       9.     Plaintiff is a 44 year old man previously employed as a "High School

Music Teacher",

       10.    High School Music Teacher is classified under the Dictionary of

Occupational Titles as Light with an SVP of 7 and considered to be skilled work.

       11. Due to Plaintiff's disabling conditions, Plaintiff ceased actively working on

April 2, 2014, as on this date Plaintiff suffered from major depressive disorder,

recurrent, severe, and anxiety.

       12.    Plaintiff alleges that he became disabled on April 3, 2014.

       13.    Plaintiff filed for short term disability benefits with Defendant.

       14     Short term disability benefits were granted.
                                               2
   Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 8 of 30




      15.     Plaintiff filed for long term disability and waiver of premium benefits

through the plan administered by the Defendant.

       16.    Defendant initially granted Plaintiff's request for long term disability

benefits under the Plan.

       17.    Subsequently, Defendant denied further long term disability benefits under

the Plan pursuant to a letter to Plaintiff dated December 22, 2014. Said letter allowed

Plaintiff 180 days to appeal this decision.

      18.     At the time Defendant denied Plaintiff further long term disability benefits,

the disability standard in effect pursuant to the Plan was that Plaintiff must be

considered unable to perform his "Own Occupation".

       19.    If granted the plan would pay monthly benefits of $2,203.00.

       20.    Plaintiff pursued his administrative remedies set forth in the Plan by

requesting administrative review of the denial of benefits.

       21.    Plaintiff timely perfected his administrative appeal pursuant to the Plan by

sending letter requesting same to the Defendant.

       22.    Plaintiff submitted additional information including medical records to show

that he is totally disabled from the performance of both his own and any other

occupation as defined by the Plan.

       23.    On April 29, 2015, Defendant notified Plaintiff that Defendant affirmed its

original decision to deny Plaintiff's claim for long term disability and waiver of premium

benefits.

       24.     Defendant also notified Plaintiff on April 29, 2015, that Plaintiff had

exhausted his administrative remedies.
                                              3
   Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 9 of 30




       25.     Defendant, in its final denial, discounted the opinions of Plaintiff's treating

physicians, among others, and the documented limitations from which Plaintiff suffers

including the effects of Plaintiff's impairments on his ability to engage in work activities.

       26.     Plaintiff has now exhausted his administrative remedies.

                                   IV. MEDICAL FACTS

       27.     Plaintiff suffers from multiple medical conditions resulting in both

exertional and nonexertional impairments.

       28.     Plaintiff suffers from treatment-resistant major depression, post-traumatic

stress disorder (PTSD), anxiety, Reynaud's Phenomenon, daytime insomnolence,

migraine headaches, swelling and pain in the foot, and restless leg syndrome (RLS).

       29.     Treating physicians document his disabilities and the continued pain that

requires ongoing pain management.

       30.     Plaintiff's multiple disorders have resulted in restrictions in activity, and

have significantly curtailed his ability to engage in any form of exertional activity.

       31.     Further, Plaintiff's physical impairments have resulted in chronic pain and

discomfort.

       32.     Plaintiff's treating physicians document these symptoms. Plaintiff does

not assert that he suffers from said symptoms based solely on his own subjective

allegations.

       33.     Physicians have prescribed Plaintiff with multiple medications, including

narcotic pain relievers, in an effort to address his multiple symptoms.

        34.    However, Plaintiff continues to suffer from breakthrough pain, discomfort,



                                                4
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 10 of 30




and limitations in functioning, as documented throughout the administrative record.

       35.     Plaintiff's documented pain is so severe that it impairs his ability to

maintain the pace, persistence and concentration required to maintain competitive

employment on a full time basis, meaning an 8 hour day, day after day, week after

week, month after month.

       36.     Plaintiff's medications cause additional side effects in the form of sedation

and cognitive difficulties.

       37.     The aforementioned impairments and their symptoms preclude Plaintiff's

performance of any work activities on a consistent basis.

       38.     As such, Plaintiff has been and remains disabled per the terms of the

Policy and has sought disability benefits pursuant to said Policy.

       39.     However, after exhausting his administrative remedies, Defendant persists

in denying Plaintiff his rightfully owed disability benefits.

                   V. Defendant's Unfair Claims Handling Practices

         40.   On or about July 14, 2014, Defendant's internal vocational consultant,

Bruce Hoffman, M.Ed., LPC, CRC, rehabilitation case consultant, performed a paper

review of Plaintiff's claim file. Despite admitting to using a job description that does not

specifically quantify the physical demands of his job, Mr. Hoffman produced a report

upon which the Defendant relied.

       41. On or about April 21, 2014, Defendant's paid consultant, Scarline Jerome-

Kon, M.D., psychiatry, performed a peer review of Plaintiff's claim file.




                                                 5
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 11 of 30




       42.     Dr. Jerome-Kon's report is misleading, biased and result driven in that the

doctor failed to review all relevant medical records, the report ignores or is contrary to

controlling medical authority such as American College of Mental Health Administration.

The report fails to specify the medical standard upon which it relies. The report is based

on faulty or incorrect information

       43.     Further, Dr. Jerome-Kon failed to consider all the claimant's illnesses.

The doctor failed to consider all the claimant's illnesses in combination. The report is

conclusory and results driven, as demonstrated by the fact that the report cherry-picks

the information by overemphasizing information that supports the insurer's position and

de-emphasizing information that supports disability and the report does not consider the

standard of disability specified in the policy.

       44. On or about July 23, 2014, Defendant's internal consultant, Megan St.

Germain, Nurse Consultant, performed a paper review of Plaintiff's claim file.

       45.     Defendant, with a pre-determined agenda to find Plaintiff not disabled,

relies on a biased report from Ms. St. Germain. Defendant in bad faith, relies on a non-

treating physician, who has not conducted a physical examination of Plaintiff, over

Plaintiff's treating physician who has examined Plaintiff over a long and frequent period

of time, and with more knowledge of Plaintiff's condition.

       46.     Defendant has failed to consider Plaintiff's credible complaints of pain and

fatigue which limit Plaintiff's ability to function.

       47.     Defendant has selectively reviewed Plaintiffs medical records and has

cherry-picked only the excerpts from the medical records that support its pre-

determined conclusion that Plaintiff is not disabled.
                                              6
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 12 of 30




       48.    Defendant has failed to consider the side effects of Plaintiff's medication.

       49. Defendant's consultants completed their reports without examining Plaintiff.

       50.    On April 29, 2015, Defendant notified Plaintiff that Defendant affirmed its

original decision to deny Plaintiff's claim for long term disability benefits.

       51.    Defendant also notified Plaintiff on April 29, 2015 that Plaintiff had

exhausted his administrative remedies.

       52.    Defendant, in its final denial, discounted the opinions of Plaintiff's treating

physicians, among others, and the documented limitations from which Plaintiff suffers

including the effects of Plaintiff's impairments on his ability to engage in work activities.

       53.    At all relevant times, Defendant has been operating under an inherent and

structural conflict of interest as Defendant is liable for benefit payments due to Plaintiff

and each payment depletes Defendant's assets.

       54.     Defendant's determination was influenced by its conflict of interest.

       55.     Defendant has failed to take active steps to reduce potential bias and to

promote accuracy of its benefits determinations.

       56. The LTD plan gave Defendant the right to have Plaintiff submit to a physical

examination at the appeal level.

       57. A physical examination, with a full file review, provides an evaluator with

more information than a medical file review alone.

       58.     More information promotes accurate claims assessment,

       59.     Despite having the right to a physical examination, Defendant did not ask

Plaintiff to submit to one.


                                                7
   Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 13 of 30




        60.     Defendant's conduct as a whole has failed to furnish a full and fair review

of Plaintiffs claim.

                                VI. FIRST CAUSE OF ACTION:

                                       Breach of Contract

        61.     Plaintiff repeats and re-alleges paragraphs 1 through 60 of this Petition as

if set forth herein.

        62.     Under the terms of the Plan, Defendant is obligated to pay Plaintiff

benefits, in full and without reservations of rights, during the period of time that Plaintiff

is suffering totally disabled, as those words are defined in the Plan.

        63.     In breach of its obligations under the aforementioned Plan, Defendant has

failed to pay Plaintiff benefits in full and without any reservations of rights during the

period of time that Plaintiff is suffering "totally disabled," as those words are defined in

the Plan.

        64.     Defendant stopped paying benefits to Plaintiff under the Plan, despite the

fact that Plaintiff was totally disabled, in that he cannot perform the material duties of his

own occupation, and he cannot perform the material duties of any other occupation

which his medical condition, education, training, or experience would reasonably allow.

        65.     Defendant breached the Plan when it stopped paying benefits to Plaintiff,

despite the fact that Plaintiff was suffering totally disability, as that phrase is defined in

the Plan. Defendant has violated its contractual obligation to furnish disability benefits

to Plaintiff.

        66.     Plaintiff has complied with all Policy provisions and conditions precedent

to qualify for benefits prior to filing suit.
                                                8
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 14 of 30




      67.     As a result of Defendant's breach, Plaintiff suffered financial hardship.

       68.    By reason of the foregoing, Defendant is liable to Plaintiff for damages.

                           VII. SECOND CAUSE OF ACTION:

                     Violations of Texas Insurance Code & DTPA

       69.    Plaintiff re-alleges and incorporates each allegation contained in

Paragraphs 1 through 68 of this Petition as if fully set forth herein.

       70.    Due to the aforementioned acts and omissions, Defendant has violated

the Texas Deceptive Trade Practices Act sections and articles in the following ways:

              (a)     Insurance Code Article § 541.051 by misrepresenting the terms or

                     benefits and advantages of The Policy;

              (b)     Insurance Code Article § 541.052 by placing before the public

                      materials containing untrue, deceptive, or misleading assertions,

                      representations, or statements regarding The Policy;

              (c)     Insurance Code Article § 541.060 by engaging in unfair settlement

                      practices by (1) misrepresenting to Plaintiff a material fact or policy

                      provision relating to the coverage at issue; (2) failing to attempt in

                      good faith to effectuate a prompt, fair, and equitable settlement of a

                      claim with respect to which Defendant's liability has become

                      reasonably clear; (3) failing to promptly provide to Plaintiff a

                      reasonable explanation of the basis in The Policy, in relation to the

                      facts or applicable law, for Defendant's denial of Plaintiff's claim; (4)

                      failing within a reasonable time to affirm or deny coverage of


                                               9
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 15 of 30




               Plaintiff's claim; and (5) refusing to pay a claim without conducting

               a reasonable investigation with respect to the claim;

         (d)   Insurance Code Article § 541.061 by misrepresenting The Policy by

               (1) making an untrue statement of material fact; (2) failing to state a

               material fact necessary to make other statements made not

               misleading, considering the circumstances under which the

               statements were made; (3) making a statement in such a manner

               as to mislead a reasonably prudent person to a false conclusion of

               a material fact; (4) making a material misstatement of law; and (5)

               failing to disclose other matters required by law to be disclosed.

         (e)   Business and Commerce Code § 17.46(b)(5) by representing that

               services had characteristics, uses and benefits that they did not

               have;

         (f)   Business and Commerce Code § 17.46(b)(12) by representing that

               an agreement conferred or involved rights, remedies or obligations

               which it did not have or involve; and

         (g)   Business and Commerce Code § 17.46(b)(24) by failing to disclose

               information concerning services which was known at the time of the

               transaction where the failure to disclose such information was

               intended to induce Plaintiff into a transaction into which Plaintiff

               would not have entered had the information been disclosed.

         (h)   Plaintiff is totally disabled, in that he cannot perform the material

               duties of his own occupation, and he cannot perform the material
                                       10
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 16 of 30




               duties of any other occupation which his medical condition,

               education, training, or experience would reasonably allow;

               Defendant failed to afford proper weight to the evidence in the

               administrative record showing that Plaintiff is totally disabled;

               Defendant's interpretation of the definition of disability contained in

               the policy is contrary to the plain language of the policy, as it is

               unreasonable, arbitrary, and capricious;

               Defendant failed to furnish Plaintiff a Full and Fair Review;

               Defendant failed to specify information necessary to perfect

               Plaintiff's appeal;

         (m)   Defendant has denied Plaintiff based on a selective and

               incomplete review of the records;

         (n)   Defendant failed to credit Plaintiff's treating doctor's opinion;

         (o)   Defendant has wrongfully terminated Plaintiff's LTD benefits without

               evidence of improvement;

         (p)   Defendant's request for objective evidence was improper;

         (q)   Defendant failed to credit Plaintiff's credible complaints of pain and

               fatigue;

         (r)   Defendant failed to consider the side effects of Plaintiff's

               medications;

         (s)   Defendant has wrongfully relied on a reviewing doctor's opinion

               who failed to consider Plaintiff's occupation and/or vocational

               abilities;
                                        11
   Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 17 of 30




               (t)       Defendant failed to give Plaintiff an opportunity to respond to new

                         evidence;

               (u)       Defendant's objective is to terminate Plaintiff's claim which is

                         contrary to its duty as a fiduciary to act in good faith;

               (v)       Defendant has violated its contractual obligation to furnish disability

                         benefits to Plaintiff; and

               (w)        Defendant failed to adopt and implement reasonable standards for

                         prompt investigation of claims arising under its policies.

        71.    Defendant knowingly committed the foregoing acts, with actual knowledge

of the falsity, unfairness, or deception of the foregoing acts and practices, in violation of

Texas Insurance Code section 541.002 (1) (formerly Art. 21.21 §2(c)).

                                VIII. THIRD CAUSE OF ACTION:

                       Breach of Covenant of Good Faith and Fair Dealing

        72.     Plaintiff repeats and realleges paragraphs 1 through 71 of this Petition as

if set forth herein.

        73.     By selling the insurance policy to Plaintiff and by collecting substantial

premiums therefore, Defendant assumed a duty of good faith and fair dealing toward

Plaintiff.

        74.     The Plan contains an implied promise that it would deal fairly and in good

faith with Plaintiff and would do nothing to injure, frustrate, or interfere with Plaintiff's

rights to receive benefits und the Plan.

        75.     Defendant breached its duty of good faith and fair dealing toward Plaintiff

in one or more of the following ways:
                                                      12
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 18 of 30




             (a)     By failing to pay benefits to Plaintiff when Defendant knew or

                     reasonably should have known that Plaintiff was entitled to such

                     benefits;

             (b)     By interpreting ambiguous Plan provisions against Plaintiff and in

                     favor of its own financial interests;

              (c)    By interpreting the factual circumstances of Plaintiffs disability

                     condition against Plaintiff and in favor of its own financial interests;

              (d)    By failing to afford proper weight to the evidence in the

                     administrative record showing that Plaintiff is totally disabled,

                     including several determinations from Plaintiff's treating physician,

              (e)    By misrepresenting Plan coverage, conditions, exclusions, and

                     other provisions;

              (f)    By interpreting the definition of disability contained in the Plan

                     contrary to the plain language of the Policy and in an unreasonable,

                     arbitrary, and capricious manner;

              (g)    By failing to provide a reasonable explanation of the basis for the

                     denial of disability benefits to Plaintiff; and

              (h)    By compelling Plaintiff to initiate this action to obtain the benefits to

                     which Plaintiff was entitled under the Plan.

       76.    By reason of Defendant's wrongful acts in breach of the covenant of good

faith and fair dealing, Plaintiff suffered financial hardship, substantial emotional duress,

mental anguish, and pain and suffering which exacerbated his depression and anxiety.

       77.    The actions of Defendant amount to egregious tortuous conduct directed
                                               13
   Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 19 of 30




at Plaintiff, a consumer of insurance.

        78.     Defendant's actions directed at Plaintiff are part of a pattern of similar

conduct directed at the public generally.

        79.     Defendant's actions were and are materially misleading and have caused

injury to Plaintiff.

        80.     Defendant carelessly relied on its own flawed review of the records

instead of in person medical examinations to decide to discontinue paying benefits.

        81.     By reason of Defendant's wrongful acts in breach of the covenant of good

faith and fair dealing, Defendant is liable to Plaintiff for compensatory damages and, for

its egregious tortuous conduct, punitive damages, and attorneys' fees, costs, and

disbursements incurred in connection with this action.

                             IX. FOURTH CAUSE OF ACTION

                                            Fraud

        82.      Plaintiff re-alleges and incorporates each allegation contained in

Paragraphs 1 through 81 of this Petition as if fully set forth herein.

        83.      Defendant acted fraudulently as to each representation made to Plaintiff

concerning material facts for the reason it would not have acted and which Defendant

knew were false or made recklessly without any knowledge of their truth. The

representations were made with the intention that they be acted upon by Plaintiff, who

relied on those representations, thereby causing injury and damage to Plaintiff.

                               X. FIFTH CAUSE OF ACTION

                                 Prompt Payment of Claim

        84.      Plaintiff re-alleges and incorporates each allegation contained in
                                             14
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 20 of 30




Paragraphs 1 through 83 of this Petition as if fully set forth herein.

       85.    Defendant failed to timely request from Plaintiff any additional items,

statements or forms that Defendant reasonably believed to be required from Plaintiff, in

violation of Texas Insurance Code section 542.055 (a)(2)-(3).

       86.    Defendant failed to notify Plaintiff in writing of the acceptance or rejection

of the claim not later than the fifteenth business day after receipt of all items,

statements, and forms required by Defendant in violation of Texas Insurance Code

section 542.056(a).

       87.    Defendant delayed payment of Plaintiffs claim in violation of Texas

Insurance Code section 542.058(a).

                              XI. SIXTH CAUSE OF ACTION

                                     Statutory Interest

       88.    Plaintiff re-alleges and incorporates each allegation contained in

Paragraphs 1 through 87 of this Petition as if fully set forth herein.

       89.    Plaintiff makes a claim for penalties of 18% statutory interest on the

amount of the claim along with reasonable attorneys' fees for violation of Texas

Insurance Code Subchapter B pursuant to Texas Insurance Code section 542.060.

                                     XIL CAUSATION

       90.    The conduct described in this petition was a producing and proximate

cause of damages to Plaintiff.

                              XIII. DECLARATORY RELIEF

       91.    Pleading further, Plaintiff would show he is entitled to declaratory relief

pursuant to Section 37 of the Texas Civil Practices and Remedies Code. Specifically,
                                               15
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 21 of 30




Plaintiff would show that he is entitled to declaratory relief due to (DEFENDANT)'s

breach of its contractual obligation under the terms of The Policy, TEX. CIV. PRACT. &

REM. CODE § 37.001.

       92.     The evidence at trial will show that Plaintiff submitted a timely and properly

payable claim for LTD benefits to Defendant. The evidence will show that Defendant

denied Plaintiff benefits which it contractually owes, because it claims that Plaintiff's

condition does not meet The Policy's definition of "disabled".

       93.     The conduct of Defendant as described above creates uncertainty and

insecurity with respect to Plaintiff's rights, status, and other legal relations with

Defendant. Therefore, Plaintiff requests the Court exercise its power afforded under

§37.001 et, seq. of the Texas Civil Practice and Remedies Code and declare the

specific rights and statuses of the parties herein. Specifically, Plaintiff requests this

Court review the facts and attending circumstances and declare that he is disabled as

that term is both commonly understood and as defined by the insurance contract made

the basis of this suit.

                                  IX. ATTORNEYS FEES

       94.     Plaintiff prays that the Court award costs and reasonable and necessary

attorney's fees as are equitable and just under §37.009 of the Texas Civil Practices and

Remedies Code, §38.001 of the Texas Civil Practices and Remedies Code, and Section

542 of the Texas Insurance Code.

                             X. REQUEST FOR DISCLOSURE

       95.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff

requests that Defendant disclose, within 50 days of the service of this request, the
                                               16
   Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 22 of 30




information or material described in Rule 194.2 of the Texas Rules of Civil Procedure.

                                     XI. JURY DEMAND

        96.    In accordance with Federal Rule of Civil Procedure 38, Plaintiff requests a

trial by jury of all issues raised in this civil action that are triable by right (or choice) by a

jury.

                                      XII. KNOWLEDGE

        97.    Each of the actions described herein were done "knowingly" as that term

is used in the Texas Insurance Code and were a producing cause of Plaintiffs

damages.

                            XIII. RESULTING LEGAL DAMAGES

        98.    Plaintiff is entitled to the actual damages resulting from Defendant's

violations of the law. These damages include the consequential damages to his/her

economic welfare from the wrongful denial and delay of benefits; the mental anguish

and physical suffering resulting from this wrongful denial of benefits; and continued

impact on Plaintiff; lost credit reputation; and the other actual damages permitted by

law. In addition, Plaintiff is entitled to exemplary damages.

        99.    As a result of Defendant's acts and/or omissions, Plaintiff has sustained

damages in excess of the minimum jurisdictional limits of this Court.

        100.   Plaintiff is entitled under law to the recovery of prejudgment interest at the

maximum legal rate.

        101.   Defendant's knowing violations of the Texas Insurance Code and DTPA

entitle Plaintiff to the attorneys' fees, treble damages, and other penalties provided by

law.
                                                 17
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 23 of 30




       102.   Plaintiff is entitled to statutory interest on the amount of his claim at the

rate of 18% per year as damages under Texas Insurance Code section 542.060(a).

       103.   Plaintiff is also entitled to the recovery of attorneys' fees pursuant to Texas

Civil Practice & Remedies Code section 38.001, Texas Insurance Code section

542.060(a)(b), Texas Business & Commerce Code section 17.50, and Texas Civil

Practice & Remedies Code section 37.009.

                                      XIV. PRAYER

       104. WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays

that the Court GRANT Plaintiff declaratory and injunctive relief, finding that he/she is

entitled to all past due short term and long term disability benefits and waiver of

premiums benefits yet unpaid under the terms of the Plan, and that Defendant be

ordered to pay all future short term and long term disability benefits and waiver of

premium benefits according to the terms of the Plan until such time as Plaintiff is no

longer disabled or reaches the benefit termination age of the Plan.

       105.   Enter an order awarding Plaintiff all reasonable actual and punitive

damages, pre- and post-judgment interest as allowed by law, attorney fees, costs of suit

and expenses incurred as a result of Defendant's wrongful denial in providing coverage,

and;

       106.   Enter an award for such other relief as may be just and appropriate.




                                              18
  Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 24 of 30




Dated: 11/22/16

                                  Respectfully submitted,

                                  MARC WHITEHEAD & ASSOCIATES,
                                  ATTORNEYS AT LAW L.L.P.


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                                        5300 Memorial Drive, Suite 725
                                        Houston, Texas 77007
                                        Telephone: 713-228-8888
                                        Facsimile: 713-225-0940
                                        ATTORNEY-IN-CHARGE
                                        FOR PLAINTIFF,
                                        JUSTIN COFFEY
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 25 of 30




                      EXHIBIT "3"
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 26 of 30



                                CHRIS DANIEL
                               HARRis COUNTY Dimicr Cum:


                                                                               ENTERED
                             Civil Process Pick-Up Form                        VERIFIED

                   CAUSE NUMBER:             o?o / b-l l tg&
ATY      X.31                         C1V                               COURT

                         EQUESTING ATTORNEY/FIRM NOTIFICAMN

  ATTORNEY:                                                 PH:         7/5
  CIVIL PROCESS SERVER:

   PH:                                                                   - V4P(2.6J
   PERSON NOTIFIED SVC READY:         V)
   DATE:



Type of Service Document:                               Tracking Number       7 33/50
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Type of Service Document:                               Tracking Number

 Process papers prepared by:     'Wanda      ClIldfillbers

 Date:    /I- Xi               2016     30 days waiting       /2-   -              11 (2




 Process papers released to:
                                            (PR ' 'AME)


 (CONTACT NUMBER)                           (SIGi   ,        E)


 Process papers released by:                   MAU; Ive -2--
                                            (PRINT • %ME)

                                 f          (SIGNATIA:)

                 Date:   tz./41//4           . 2016         Time: 1 0   3
                                                                         RECORDER'S MEMORANDUM
                                                                         This instrument is of poor quality
                                                                              at the time of imaging
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 27 of 30




                      EXHIBIT "4"
           Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 28 of 30
                                                                                     12/19/2016 5:34:00 PM
                                                                                     Chris Daniel - District Clerk
                                                                                     Harris County
                                                                                     Envelope No: 14366899
                                                                                     By: GONZALEZ, VERONICA
                                                                                     Filed: 12/19/2016 5:34:00 PM

                                              CAUSE NO. 201681166

                                              RECEIPT NO.                         0.00           ATY
                                                      **********                             TR # 73315303

PLAINTIFF: COFFEY, JUSTIN                                                      In The   151st
        vs.                                                                    Judicial District Court
DEFENDANT: SUN LIFE ASSURANCE COMPANY OF CANADA                                of Harris County, Texas
                                                                               151ST DISTRICT COURT
                                                                               Houston, TX
                                                   CITATION
THE STATE OF TEXAS
County of Harris



TO: SUN LIFE ASSURANCE COMPANY OF CANADA BY SERVING ITS REGISTERED AGENT
    C T CORPORATION SYSTEM
    350 NORTH ST PAUL STREET DALLAS TX 75201
    Attached is a copy of PLAINTIFF'S ORIGINAL PETITION REQUEST FOR DISCLOSURE AND JURY DEMAND

This instrument was filed on the 22nd day of November, 2016, in the above cited cause number
and court. The instrument attached describes the claim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.
TO OFFICER SERVING:
      This citation was issued on 29th day of November, 2016, under my hand and
seal of said Court.


Issued at request of:                                        CHRIS DANIEL, District Clerk
WHITEHEAD, MARC STANLEY                                ‘cl   Harris County, Texas
                                                        z
5300 MEMORIAL DRIVE, SUITE 725                       .J      201 Caroline, Houston, Texas 77002
                                                             (P.O. Box 4651, Houston, Texas 77210)
HOUSTON, TX 77007
Tel: (713) 228-8888                                  ' Generated By: CHAMBERS, WANDA RENEE ULW//10547399
Bar No.: 785238

                                           OFFICER/AUTHORIZED PERSON RETURN
Came to hand at              o'clock        .M., on the           day of

Executed at (address)                                                                                    in

                               County at          o'clock             on the        day of

          , by delivering to                                                     defendant, in person, a

 true copy of this Citation together with the accompanying                     copy(ies) of the Petition

 attached thereto and I endorsed on said copy of the Citation the date of delivery.
 To certify which I affix my hand officially this        day of


 FEE: $

                                                                      of                       County, Texas


                                                             By
                 A .Ffi.n+
Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 29 of 30




                      EXHIBIT "5"
        Case 4:17-cv-00040 Document 1-1 Filed in TXSD on 01/09/17 Page 30 of 30
                                                                                                   12/19/2016 5:33:42 PMC.
                                                                                Chris Daniel - District Clerk Harris County
                                                                                                  Envelope No. 14366899
151st District Court of HARRIS Comity, Texas                                                 By: VERONICA GONZALEZ
201 CAROLINE, 11 FL HOUSTON TX 77002                                                        Filed: 12/19/2016 5:33:42 PM


CASE #: 1)1(61165
JUSTIN COFFEY


Plaintiff
vs
SUN LIFE ASSURANCE COMPANY OF CANADA


Defendant
                                       AFFIDAVIT OF SERVICE
I, PAIGE BRADDOCK, make statement to the fact;
That I am a competent person more than 18 years of age or older and not a party to
this action, nor interested in outcome of the suit. That I received the documents stated
below on 12/19/16 3:00 pm, instructing for same to be delivered upon Sun Life Assurance Of
Canada By Delivering To It's Registered Agent CT Corporation System.
That I delivered to              Sun Life Assurance Of Canada By Delivering To It's
                                 Registered Agent CT Corporation System. By Delivering to Terrie
                                 Thongsavat, Corp Ops Spec

the following                  : CITATION; PLAINTIFF'S ORIGINAL PETITION REQUEST FOR
                                 DISCLOSURE AND JURY DEMAND

at this address                1 1999 Bryan Street, Suite 900
                                 Dallas, Dallas County, TX 75201

Manner of Delivery             : by PERSONALLY delivering the document(s) to the person
                                 above.
Delivered on                   : Monday December 19, 2016 3:30 pm




My name is PAIGE BRADDOCK, my date of birth is July 13th, 1990, and my address is
Professional Civil Process Dallas, Inc., 2300 Valley View Ln, Ste 612, Irving TX
75062, and U.S.A. I declare under penalty of perjury that the foregoing is true and
correct.

Executed in Dallas County, State of Texas, on the               '19        day of

                          ,   2A Lk.
                                                                      II /a/
                                              P•IGE BJ, CDOCK                         Declarant
                                               2274

                                              Texas Certification#: SCH-12155 Exp. 07/31/19

                                                          PCP Inv#: D16C00556
                                                          SO Inv#: A16CO2606



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 braddock
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                              I I1       Witness Fee:
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                                                            Whitehead, Marc
                                                                                E-FILE RETURN
